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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

Phillip JACKSON,                   )
                                   )                      Civil Action No.
   Plaintiff,                      )
v.                                 )                   1:23-CV-74-JRH-BKE
                                   )
Garnett JOHNSON, and Modern        )
Business Workplace Solutions, LLC, )
                                   )
   Defendants.                     )
                                   )
________________________________ )

                                Rule 83 Certificate

      I, the undersigned, in support of my Application for Admission Pro Hac

Vice, hereby certify that I am an attorney in good standing with the District Court

for the Middle District of Georgia, and that I have appeared as counsel in no other

cases in the District Court of the Southern District of Geogia.

      This 15th day of August, 2023.

                                              s/ Jake Knanishu
                                              Jake Knanishu
                                              Georgia Bar No. 597103
                                              Attorney for Plaintiff

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